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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

----------------------------------------------------------------------- x
PIERRE FATTOUCH,                                                        :
MOUSSA FATTOUCH,                                                        :
UNITED LEBANESE QUARRIES AND CRUSHERS                                   :
COMPANY S.A.L.                                                          :
                                                                        :
         Plaintiffs,                                                    :
                                                                        :
v.                                                                      :   Case No.: 1:20-CV-02599-EGS
THE REPUBLIC OF LEBANON,                                                :
Its Ministries, Agencies, and Instrumentalities                         :
c/o Ministry of Justice                                                 :
                                                                        :
HER EXCELLENCY MARIE-CLAUD NAJIM,                                       :
Minister of Justice                                                     :
                                                                        :
         Defendant State.                                               :
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 REPLY MEMORANDUM OF LAW OF THE REPUBLIC OF LEBANON AND HER
   EXCELLENCY MARIE-CLAUDE NAJM IN FURTHER SUPPORT OF THEIR
  COMPREHENSIVE MOTIONS TO DISMISS THE AMENDED COMPLAINT OR
          ALTERNATIVELY TO QUASH ATTEMPTED SERVICE
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          The Republic 1 and Ms. Najm 2 submit this memorandum in further support of their

comprehensive motions to dismiss the Amended Complaint filed by the Fattouch plaintiffs,

dated March 15, 2021, ECF No. 24 (the “Amended Complaint”), pursuant to Federal Rules of

Civil Procedure 12(b)(1), (2), (5), and (6), or in the alternative to quash attempted service.

                                  PRELIMINARY STATEMENT

          As demonstrated in the opening brief on this motion, this action should be dismissed on

multiple independent bases as against the Republic and as against Ms. Najm. After three

attempts, plaintiffs still have not properly effected service on the Republic or Ms. Najm.

Additionally, this Court has no jurisdictional connection to this wholly foreign matter—an

attempt by Lebanese nationals to enforce judgments issued by a Lebanese court against the

Republic of Lebanon in connection with quarries that plaintiffs purportedly owned and operated

in Lebanon. Plaintiffs have once again failed to refute these deficiencies, which are fatal to their

claims.

          First, there is no basis for the Court to exercise jurisdiction over the Republic. The Court

lacks personal jurisdiction over the Republic because plaintiffs have failed to serve the Republic

as the Foreign Sovereign Immunities Act (“FSIA”) requires. As to subject matter jurisdiction,

plaintiffs largely ignore the Republic’s arguments and authority establishing that none of the

FSIA’s exceptions to sovereign immunity apply here. Plaintiffs try to save their claim with an

unsworn, unnotarized “affidavit” that vaguely references a supposed “meeting” (no date is

provided) during which, according to plaintiffs’ implausible assertions, unidentified Lebanese



1
  Unless otherwise stated, capitalized terms have the definitions given to them in the Republic’s
opening brief, Comp. Dismissal Mem. (Sept. 9, 2022), ECF No. 47 (“Comp. Dismissal Mem.”).
2
  At the time this action was filed, Her Excellency Marie-Claude Najm was the Lebanese
Minister of Justice. As of September 10, 2021, a new government was formed in Lebanon and
accordingly Ms. Najm is no longer in office as the Minister of Justice.
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officials told plaintiffs that they waived the Republic’s immunity to suit in U.S. courts. No

authority supports a finding of waiver based on such unsubstantiated, vague assertions. Nor does

any other exception to sovereign immunity apply, as plaintiffs’ bare assertions cannot support the

application of the commercial activity or expropriation exceptions.

        Second, plaintiffs’ claim against Ms. Najm is subject to dismissal on several independent

grounds. As with the Republic, plaintiffs have not properly served Ms. Najm. The Court lacks

jurisdiction over a claim against Ms. Najm because she is an individual in a foreign country who

does not have any relevant contacts with this jurisdiction. And even if the Court were to

consider the merits of the purported claim against Ms. Najm, the claim fails at the gate because

she is nowhere named in the judgments that plaintiffs are seeking to enforce here. Plaintiffs try

to avoid these issues by claiming that they are suing Ms. Najm because the Republic enlisted her

to defend the Republic in this matter. But that assertion does nothing to remedy the defects in

their claim, and in fact requires dismissal of any claim against Ms. Najm because the Republic is

the real party in interest.

        Accordingly, the Amended Complaint should be dismissed in full with prejudice or, in

the alternative, all of plaintiffs’ attempts at service should be quashed.




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                                          ARGUMENT

                                             POINT I

  THE CLAIM AGAINST THE REPUBLIC SHOULD BE DISMISSED FOR FAILURE
         TO SERVE AND LACK OF JURISDICTION UNDER THE FSIA

       A. The Court Lacks Personal Jurisdiction Because Plaintiffs Still Have Not
          Properly Served The Republic In This Action.

       As set forth in the Republic’s opening brief, plaintiffs have failed to demonstrate that any

of their attempts at service were made in compliance with the FSIA, and accordingly plaintiffs’

claim against the Republic should be dismissed for lack of personal jurisdiction. Comp.

Dismissal Mem. at 4-7. Having effectively conceded that their first two attempts to effect

service were deficient, see Pls.’ Mem. of Law at 3 (Sept. 22, 2021), ECF No. 37-1, plaintiffs

purport to have made a third attempt at service, see Return of Service Aff. (Oct. 26, 2021), ECF

No. 41. However, this latest attempted service remains deficient because the package did not

include a notice of suit, including a copy of the FSIA, as required. Comp. Dismissal Mem. at 6

(citing Gretton Ltd. v. Republic of Uzbekistan, Civil Action No. 18-1755 (JEB), 2019 WL

3430669, at *3 (D.D.C. July 30, 2019); 22 C.F.R. § 93.2 (describing form and other notice of suit

requirements)). And plaintiffs offer no response to the Republic’s argument that the document

purportedly included in the package, Ex. (Nov. 16, 2021), ECF No. 44, omits information from

the required form notice of suit regarding jurisdiction and sovereign immunity, Comp. Dismissal

Mem. at 6-7. Likewise, plaintiffs offer no rebuttal to the additional deficiency pointed out by the

Republic—that a translation of the FSIA is not included, as required. Comp. Dismissal Mem. at

7; Ex. (Nov. 16, 2021), ECF No. 43-2.

       Recognizing their failure to comply with the service rules, plaintiffs try to turn the

deficiencies into virtues, claiming that the fact that the Republic and Ms. Najm noticed any

deficiencies somehow makes “clear that service has been effected upon the defendants.” Pls.’


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Comp. Mem. of Law at 2 (Sept. 22, 2022), ECF No. 48-1 (“Pls.’ Comp. Mem. of Law”).

Purported “actual notice” does not excuse plaintiffs’ failure to comply with the requirements for

service under governing law. See Republic of Sudan v. Harrison, 139 S. Ct. 1048, 1058 (2019)

(“§ 1608(a)(3) ‘does not deem a foreign state properly served solely because the service method

is reasonably calculated to provide actual notice.’”); Freedom Watch, Inc. v. Org. of the

Petroleum Exporting Countries (OPEC), 766 F.3d 74, 81 (D.C. Cir. 2014) (actual notice “cannot

by itself validate an otherwise defective service” absent at least substantial compliance with Rule

4)). For these reasons and those stated in the Republic’s opening brief, Plaintiffs’ claim against

the Republic should be dismissed for lack of personal jurisdiction under the FSIA due to

improper service.

       B. The Court Lacks Subject Matter Jurisdiction Under The FSIA Because
          Plaintiffs Have Not Shown That Any Of The FSIA’s Exceptions To Sovereign
          Immunity Applies.

           1. Plaintiffs Still Have Not Demonstrated That The Republic Waived Its Immunity
              Explicitly Or Implicitly.

       As previously set forth, the Republic has not waived its immunity explicitly or implicitly.

Comp. Dismissal Mem. at 8-11. Plaintiffs assert that unspecified “independent statements made

by government officials to plaintiffs establish an explicit,” and implicit, “waiver.” Pls.’ Comp.

Mem. of Law at 5-6. But that contention fails.

       First, plaintiffs provide no evidence of an explicit waiver. Comp. Dismissal Mem. at 8-

11. Their self-styled “affidavit” submitted in August 2021 in this litigation is not notarized and

does not meet the admissibility requirements for an unsworn declaration under 28 U.S.C. § 1746.

See Comp. Dismissal Mem. at 9. Defendants previously pointed out these deficiencies, which

Plaintiffs have neither remedied nor tried to explain. Section 1746 requires a statement in

“substantially the following form”: “I declare (or certify, verify, or state) under penalty of



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perjury [under the laws of the United States of America] that the foregoing is true and correct.”

Although these precise words are not required, “there are two statements that are essential to a

proper verification under § 1746: i) an assertion that the facts are true and correct; and (ii) an

averment that the first assertion is made under penalty of perjury.” United States v. 8 Gilcrease

Lane, Quincy Fla. 32351, 587 F. Supp. 2d 133, 139 (D.D.C. 2008). Plaintiffs’ affidavit omits the

second requirement—it contains no statement that the assertion is made under penalty of perjury.

See Ex. A at 4 (Apr. 12, 2021), ECF No. 29-2. Accordingly, this “evidence” should not be

considered by the Court.

       Second, even if the Court were to credit Plaintffs’ “evidence,” all it purports to show is

that an unnamed government official in unidentified meetings supposedly “encouraged”

plaintiffs “to seek relief in the United States Courts” and “assured [them] that collection efforts

in the United States would not be objected to under sovereign immunity.” Ex. A at 4 (Apr. 12,

2021), ECF No. 29-2; see also Pls.’ Comp. Mem. of Law at 5-6. Missing are any facts setting

forth who purportedly spoke to plaintiffs, in what words, how, when, or in what context. As the

Republic explained in its opening brief, Comp. Dismissal Mem. at 9-11, this does not establish

an explicit waiver “clearly and unambiguously,” see, e.g., Ivanenko v. Yanukovich, 995 F.3d 232,

239 (D.C. Cir. 2021); World Wide Minerals, Ltd. v. Republic of Kazakhstan, 296 F.3d 1154,

1162 (D.C. Cir. 2002). Nor does it satisfy plaintiffs’ burden of showing that this individual had

actual or apparent authority to waive the Republic’s sovereign immunity. See SACE S.p.A. v.

Republic of Paraguay, 243 F. Supp. 3d 21, 24, 36 (D.D.C. 2017) (granting Paraguay’s motion to

dismiss where plaintiff failed to “allege that the Paraguayan official who purportedly effected an

explicit waiver of Paraguay’s sovereign immunity was actually authorized to do so”). Plaintiffs

offer no response to these points.




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       Third, there is no implicit waiver. Comp. Dismissal Mem. at 11. Implicit waivers are

found “only where a foreign state has: 1) filed a responsive pleading without raising sovereign

immunity, 2) agreed to arbitrate in the United States, and 3) agreed to a particular choice of law,”

i.e., a choice of law provision selecting U.S. law. Ivanenko, 995 F.3d at 239; Luxexpress 2016

Corp. v. Gov’t of Ukraine, No. 18-cv-812 (TSC), 2020 WL 1308357, at *8-9 (D.D.C. Mar. 19,

2020). As explained in the Republic’s opening brief, none applies here, and plaintiffs offer no

response to those arguments in their opposition.

           2. Plaintiffs Still Have Not Satisfied The Requirements Of The FSIA’s
              Commercial Activity Exception.

       As explained in the Republic’s opening brief, this action does not fall within the scope of

the FSIA’s commercial activity exception because the relevant conduct took place in Lebanon

and plaintiffs fail to allege a “direct effect in the United States” or that the Republic’s purported

conduct in Lebanon was “in connection with a commercial activity.” Comp. Dismissal Mem. at

12-13 (quoting 28 U.S.C. § 1605(a)(2)). Plaintiffs’ arguments to the contrary are meritless.

       Regarding the “direct effect in the United States” requirement, plaintiffs altogether ignore

this Court’s ruling in Luxexpress, 2020 WL 1308357, at *7, that “where the direct effect

occurred” is determined by the “locus of the tort.” See Comp. Dismissal Mem. at 12. Here, that

is Lebanon, not the United States. Id. (citing Am. Compl. ¶¶ 15-17). This itself defeats

plaintiffs’ assertion of jurisdiction under the commercial activity exception. Lacking any

answer, plaintiffs resort to reiterating that defendants’ conduct “was designed to ‘prevent

plaintiffs from advancing commercial businesses in the United States.’” Pls.’ Comp. Mem. of

Law at 7 (citing Am. Compl. ¶¶ 12-13). But missing from the Amended Complaint are any well-

pleaded allegations to support a plausible inference that a purely domestic act in Lebanon by the

Lebanese government over Lebanese property was somehow “designed” to impact plaintiffs’



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(unidentified) commercial interests in the United States, or how it did so. In any event, this

Court has squarely held that even where “‘an American individual or firm suffers some financial

loss from a foreign tort,’” that “‘cannot, standing alone, suffice’ to show a ‘direct effect’ in the

United States.” Luxexpress, 2020 WL 1308357, at *7 (citation omitted) (loss of U.S. business is

a “downstream consequence,” not an “immediate consequence”). And plaintiffs are not helped

by their citation to Odhiambo v. Republic of Kenya, 764 F.3d 31, 40 (D.C. Cir. 2014). Pls.’

Comp. Mem. of Law at 7. There, the D.C. Circuit affirmed the commercial activity exception

did not apply because “breaching a contract that establishes or necessarily contemplates the

United States as a place of performance causes a direct effect in the United States, while

breaching a contract that does not establish or necessarily contemplate the United States as a

place of performance does not cause a direct effect in the United States.” Odhiambo, 764 F.3d at

40. Here, plaintiffs’ claims sound in tort, not contract, and a fortiori there is no contract at issue

that contemplates the United States as a place of performance.

       Plaintiffs also have not satisfied the “commercial activity” requirement. The Amended

Complaint alleges actions of a sovereign, not a private party engaged in commerce, namely that

the Republic cancelled plaintiffs’ Lebanese permits, ordered closure of their quarries in Lebanon,

and ordered Lebanese state security forces to destroy quarry equipment in Lebanon. See Comp.

Mem. of Law at 13; Saudi Arabia v. Nelson, 507 U.S. 349, 351-53, 361-63 (1993) (affirming

dismissal under the FSIA where Saudi Arabia allegedly recruited plaintiff to work in a Saudi

hospital and then arrested, imprisoned, and tortured him). “Exercise of the powers of police and

penal officers is not the sort of action by which private parties can engage in commerce,” but

instead is “peculiarly sovereign in nature.” Nelson, 507 U.S. at 361-62. Plaintiffs try to avoid

this by asserting that the Republic acted “not as a government, but as a competitor,” “to deprive




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plaintiffs of their right to conduct business.” Pls.’ Comp. Mem. of Law at 6-7; see also id. at 7

(claiming the “commercial activity of the defendants” was that they “enter[ed] into the

commercial space without lawful governmental authority simply to cease the operations of a

commercial enterprise (plaintiffs’ business)”). But as plaintiffs themselves assert, purported

motive is irrelevant, see id. at 7; the relevant question “is whether the particular actions that the

foreign state performs (whatever the motive behind them) are the type of actions by which a

private party engages in ‘trade and traffic or commerce,’” Comp. Dismissal Mem. at 13 (quoting

Princz v. Fed. Republic of Germany, 26 F.3d 1166, 1172 (D.C. Cir. 1994)).

           3. The FSIA’s Expropriation Exception Remains Inapplicable.

       As the U.S. Supreme Court recently confirmed, the FSIA’s expropriation exception does

not apply to a taking by a foreign state from its own citizens. Comp. Dismissal Mem. at 14

(citing Fed. Republic of Germany v. Philipp, 141 S. Ct. 703, 715-16 (2021); 28 U.S.C. §

1605(a)(3)). Plaintiffs (Lebanese nationals) say nothing about this binding rule, which squarely

forecloses application of the expropriation exception to a claim against the Republic here. See

Comp. Dismissal Mem. at 14 (citing Luxexpress, 2020 WL 1308357, at *3 (rejecting plaintiffs’

argument “that taking property without just compensation violates international law” and

denying application of the expropriation exception because of the “domestic takings rule”)). 3

Instead, plaintiffs try to conjure a violation of international law through recycled conclusory

assertions and by reference to the International Covenant on Civil and Political Rights. Pls.’

Comp. Mem. of Law at 8. Even if these arguments were sound (they are not), the Supreme

Court’s Philipp ruling renders them irrelevant.



3
  Plaintiffs cite Simon v. Republic of Hungary, 911 F.3d 1172, 1177 (D.C. Cir. 2018), Pls.’
Comp. Mem. of Law at 8, which the U.S. Supreme Court vacated simultaneously with its ruling
in Philipp, 141 S. Ct. 703 (2021), see Republic of Hungary v. Simon, 141 S. Ct. 691 (2021).


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       Moreover, plaintiffs have not satisfied the expropriation exception’s commercial nexus

requirement for a claim against a foreign state because there are no allegations that the property

at issue or any property exchanged for it “is present in the United States in connection with a

commercial activity carried on in the United States by the foreign state.” See 28 U.S.C. §

1605(a)(3); Comp. Dismissal Mem. at 14 (citing De Csepel v. Republic of Hungary, 859 F.3d

1094, 1108 (D.C. Cir. 2017)).

       Unable to meet the expropriation exception’s requirements for a claim against a foreign

state, plaintiffs conclusorily assert that the “actual cause” of the alleged harm was “conduct by an

agency or instrumentality of the foreign state”—one of whom supposedly is Ms. Najm. Pls.’

Comp. Mem. of Law at 8-9. But this proves too much. Agencies and instrumentalities are

presumed to be separate from the foreign state itself. See, e.g., First Nat’l City Bank v. Banco

Para El Comercio Exterior de Cuba (“Bancec”), 462 U.S. 611, 627 (1983); Transamerica

Leasing, Inc. v. La Republica de Venezuela, 200 F.3d 843, 847 (D.C. Cir. 2000). Accordingly, if

the conduct at issue were by an agency or instrumentality, that would not create jurisdiction over

the Republic here. See Bancec, 462 U.S. at 627; Transamerica Leasing, Inc., 200 F.3d at 847.

And plaintiffs in any event do not identify any agency or instrumentality involved in the conduct

at issue—the purported harm to their quarries—much less plausibly allege its possession of

relevant property or involvement in commercial activity in the United States, as the expropriation

exception requires. See 28 U.S.C. § 1605(a)(3). While Plaintiffs claim that Ms. Najm acted as

an instrumentality of the Republic in her role as Minister of Justice, see Pls.’ Comp. Mem. of

Law at 8-9, that contention fails because it is well-settled that a foreign government official such

as the Minister does not qualify as an agency or instrumentality of a foreign state. See, e.g.,

Samantar v. Yousuf, 560 U.S. 305, 315-16 (2010). Moreover, her activities as Minister bore no




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relationship to the purported commercial activity at issue in the underlying judgments, let alone

in a manner involving the United States.

                                             POINT II

PLAINTIFFS FAIL TO REFUTE THE MULTIPLE SUFFICIENT BASES REQUIRING
            DISMISSAL OF THEIR CLAIM AGAINST MS. NAJM

       Plaintiffs largely ignore the deficiencies in their claim against Ms. Najm set forth in the

Republic’s opening brief, i.e., that (i) plaintiffs have not properly served Ms. Najm, an individual

in a foreign country; (ii) the Court lacks personal jurisdiction or subject matter jurisdiction for a

claim against Ms. Najm; and (iii) plaintiffs fail to state a claim against Ms. Najm because the

underlying judgments name the Republic, not Ms. Najm. See Comp. Dismissal Mem. at 14-19.

Each of these deficiencies serves as an independent basis for Ms. Najm’s dismissal.

       Plaintiffs have no response to any of the above, other than to assert—without any

analysis—that they “complied with” the service provisions under 28 U.S.C. § 1608(a), Pls.’

Comp. Mem. of Law at 3, and Rule 4, id. at 5. Plaintiffs’ argument instead is that Ms. Najm is

“an appropriate agency and/or instrumentality to be named as a defendant” because she was

assigned “to do what is necessary to ensure the rights of defense of the State in the case of the

FATTOUCHES.” Pls.’ Comp. Mem. of Law at 8-9. This assertion fails at every turn:

       First, Section 1603(b)(1)—which plaintiffs fail to cite—sets forth one of the definitional

requirements for agencies or instrumentalities of a foreign state. Plaintiffs’ contention that Ms.

Najm should be considered a foreign state agency or instrumentality fails because, as noted

above, it is well-settled that a foreign government official such as the Minister does not qualify

as an agency or instrumentality of a foreign state. See, e.g., Samantar, 560 U.S. at 315-16. In

any event, as noted above, agencies and instrumentalities are presumed to be separate from the

foreign state itself, e.g., Bancec, 462 U.S. at 627, and so are not liable on a judgment against the



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foreign state.

        Second, to the extent plaintiffs purport to be suing Ms. Najm as the foreign state itself,

that defeats their claim against her. Since the “real party in interest” is the Republic, not the

Minister, any claim against the Minister should “be treated as claims against [the Republic]

itself” (and dismissed for the reasons set forth above). See Comp. Dismissal Mem. at 15 (citing

Mohammadi v. Islamic Republic of Iran, 947 F. Supp. 2d 48, 72 (D.D.C. 2013) (dismissing

claims against Iranian officials where Iran was the real party in interest); Odhiambo v. Republic

of Kenya, 930 F. Supp. 2d 17, 34-35 (D.D.C. 2013) (dismissing claims against Kenyan officials

on FSIA grounds “because the suit is in all respects a suit against the Kenyan government”),

aff’d, 764 F.3d 31 (D.C. Cir. 2014)). For the reasons stated supra Point I, no FSIA jurisdiction

exists over the Republic here.

        Finally, plaintiffs do not explain how the Ministry of Justice’s charge to defend the

Republic and protect its rights in connection with the Fattouch plaintiffs’ claims renders Ms.

Najm “a necessary party” for plaintiffs “to achieve th[e] end” of recognition of Lebanese

judgments in this Court. Pls.’ Comp. Mem. of Law at 9. Ms. Najm is not mentioned in, let alone

liable for, the judgments at issue and accordingly plaintiffs’ claim against her fails.




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                                       CONCLUSION

       For the foregoing reasons, the Republic and Ms. Najm respectfully request that the Court

grant their Motions to Dismiss the Amended Complaint or Alternatively to Quash Attempted

Service.


 Dated: September 29, 2022

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                                       Justice




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